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: MANDATE Chin, Penny (423)

 

 

 

 

United States v. Madoff USDC SDNY
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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT ELECTRONICALLY FILE]
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SUMMARY ORDER

 

 

RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO SUMMARY ORDERS FILED
AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY THIS COURT'S LOCAL RULE 32.1 AND
FEDERAL RULE OF APPELLATE PROCEDURE 32.1. IN A BRIEF OR OTHER PAPER IN WHICH A LITIGANT
CITES A SUMMARY ORDER, IN EACH PARAGRAPH IN WHICH A CITATION APPEARS, AT LEAST ONE CITATION
MUST EITHER BE TO THE FEDERAL APPENDIX OR BE ACCOMPANIED BY THE NOTATION: “(SUMMARY ORDER) .”
UNLESS THE SUMMARY ORDER IS AVAILABLE IN AN ELECTRONIC DATABASE WHICH IS PUBLICLY ACCESSIBLE
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AVAILABILITY OF THE ORDER ON SUCH A DATABASE, THE CITATION MUST INCLUDB REFERENCE TO THAT

 

 

 

 

 

DATABASE AND THE DOCKET NUMBER OF THE CASE IN WHICH THE ORDER WAS ENTERED.
1 At a stated term of the United States Court of Appeals
2 for the Second Circuit, held at the Daniel Patrick Moynihan
3 United States Courthouse, 500 Pearl Street, in the City of
4 New York, on the 20™ day of March, two thousand nine.
5
6
7 PRESENT: HON. DENNIS JACOBS,
8 Chief Judge,
9 HON. ROBERT D. SACK,
10 HON. RICHARD C. WESLEY,
11 Circuit Judges.
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14 UNITED STATES OF AMERICA,
15 Appellee,
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20 BERNARD L. MADOFF,
21 Defendant-Appellant.
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1 APPEARING FOR APPELLANT: IRA LEE SORKIN, Dickstein
2 Shapiro LLP, New York, N.Y.
3
4 APPEARING FOR APPELLEE: MARC O. LITT, Assistant United
5 States Attorney, (Lisa A.
6 Baroni, on the brief), for Lev
7 L. Dassin, Acting United States
8 Attorney, Southern District of
9 New York, New York, N.Y.
10
11 Appeal from a judgment of the United States District
12 Court for the Southern District of New York (Chin, J.).
13
14 UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED
15 AND DECREED that the order of the district court be
16 AFFIRMED.
17
18 Defendant-appellant Bernard L. Madoff appeals the
19 district court’s denial of bail pending sentencing pursuant
20 to 18 U.S.C. §§ 3143(a) and 3145(c).
21
22 Post-conviction, a defendant no longer has a
23 substantive constitutional right to bail pending sentencing.
24 Williamson v. United States, 184 F.2d 280, 281 (2d Cir.
25 1950) (Jackson, Circuit Justice); United States v. Abuhamra,
26 389 F.3d 309, 317 (2d Cir. 2004). As the district court
27 observed, the defendant “is no longer entitled to the
28 presumption of innocence.” Accordingly, § 3143(a) places
29 the burden on a defendant to demonstrate by clear and
30 convincing evidence that he is not likely to flee or pose a
31 danger to the safety of others or the community.
32
33 Here the district court found that in light of the
34 defendant’s age (70) and the length of a potential sentence
35 (150 years), he has an incentive to flee, and that because
36 he has the means to do so, he presents a risk of flight, and
37 therefore should not be released.
38
39 On an appeal from an order of detention pending
40 sentencing, we consider both the district court’s factual
41 determinations and its overall assessment as to the risk of
42 flight, and we review for clear error. Abuhamra, 389 F.3d
43 at 317. “To identify clear error, we must do more than
44 entertain doubts about the district court’s conclusions or
45 hypothesize reasonable alternative findings; we must be left
46 with the definite and firm conviction that a mistake has
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been committed.” United States v. Cavera, 550 F.3d 180, 204
(2d Cir. 2008) (in banc) (quotation omitted).

On appeal, the defendant argues that incentive to flee
is not a proper consideration under the statute, and that
the district court’s findings are insufficiently detailed.

As to the incentive to flee (based on his age and
exposure to a lengthy imprisonment), we consider that such
an incentive naturally bears upon and increases the risk of
flight. This consideration was permissible under the
statute and reasonable under the circumstances, and
therefore not clearly erroneous.

As to the findings, our review of the record confirms
that the district court’s findings were sufficient under the
circumstances of this case. The defendant’s age and his
exposure to imprisonment are undisputed, and the court did
not err in inferring an incentive to flee from these facts.
Moreover, the district court’s finding that the defendant
has the means--and therefore the ability--to flee was not
clear error. The defendant has argued that all of his
assets are accounted for and are inaccessible to him;
however, the district court was not required to treat this
defendant’s financial representations as reliable. The
defendant has a residence abroad, and has had ample
opportunity over a long period of time to secret substantial
resources outside the country.

Finally, we note that there was substantial evidence in
the record to support a finding by the district court that
bail should be denied to the defendant because he had failed
to prove by clear and convincing evidence that he does “not

pose a danger to the [pecuniary] safety of any other

 

person or the community if released... .” 28 U.S.C. §
3143(a) (1). See, e.g., United States v. Reynolds, 956 F.2d
192, 192-93 (9th Cir. 1992) (order) (“[D]anger may, at least
in some cases, encompass pecuniary or economic harm.”). The
district court did not address this issue in its brief oral
decision, however. Inasmuch as we affirm in any event on

the ground of likelihood of flight, we need not decide
whether we can, in light of the record, also affirm on the
ground of endangerment. See Holcomb v. Lykens, 337 F.3d
217, 223 (2d Cir. 2003) (“It is well-settled that we may
affirm on any grounds for which there is a record sufficient
to permit conclusions of law, including grounds not relied

 

 
 

 

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upon by the district court.”) (citation and internal
quotation marks omitted).

In sum, the district court did not clearly err in its
assessment that the defendant has failed to show by clear
and convincing evidence that he is not likely to flee. The
order of the district court is hereby AFFIRMED.

FOR THE COURT:
CATHERINE 0’ HAGAM WOLFE, CLERK

By: Leisitel: bre

Frank’ Perez, péputy-@Terk

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